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                                               EXHIBIT "A"

        This Exhibit provides a list of documents that you must produce pursuant the Committee's
requests under Rule 2004 of the Federal and Local Rules of Bankruptcy Procedure. The Definitions
and Instructions below apply to your production of documents. Please review and comply with
such Definitions and Instructions when producing documents pursuant to the requests below.

                                          I.       Definitions

        Unless the context otherwise requires, the following terms and rules of construction shall
apply throughout this Exhibit, regardless of whether such terms are used in capitalized or lower-case
form, and regardless of whether used in the singular or the plural. Undefined words used herein, to
the extent applicable, shall have the meaning ascribed to them by 11 U.S.C. § 101.

       1.       "Affiliate," when used with respect to a Person or entity, means a, parent, subsidiary,
designee, assignee, predecessor or successor.

       2.     "And" and "or" shall be construed conjunctively or disjunctively as necessary to
make the request inclusive rather than exclusive.

        3.      The words "any" or "all" shall be construed to mean any and all.

       4.      "Bankruptcy Case" means the bankruptcy case styled In re Zenergy Brands, et al., Case
No. 19-42886, in the United States Bankruptcy Court for the Eastern District of Texas, Sherman
Division, being the lead case under which the Debtors' Chapter 11 bankruptcy cases are jointly
administered.

        5.       "Campbell Declaration" means that certain Declaration of Joshua Campbell In Support
of Chapter 11 Petitions and First-Day Motions, dated October 24, 2019 [Dkt. No. 10].

         6.      "Communication(s)" means any contact or act by which any information or
knowledge is transmitted or conveyed between two or more persons and shall include, without
limitation, written contact by such means as letters, memoranda, correspondence, electronic mail,
telegrams, telex, facsimile, recorded telephone conversations or by any document, and oral contact
by such means as face-to-face meetings and telephone conversations.

      7.     "Debtors" refers, collectively, to Zenergy Brands, Inc., Enertrade Electric, LLC,
NAUP Brokerage, LLC, Zen Technologies, Inc., Zenergy & Associates, Inc, Zenergy Labs, LLC,
and Zenergy Power & Gas, Inc., including any Affiliate(s) or Representative(s) thereof. The term
Debtors is used conjunctively and disconjunctively. As a result, a request to produce
communications between a Person and Debtors would require the production of all
communications between that Person and any and all of the Debtors.

       8.    "DIP Facility" means the proposed Postpetition TCA Indebtedness described in
the DIP Motion.

        9.     "DIP Motion" refers to the Debtors' Emergency Motion For Entry Of Interim And Final
Orders (I) Authorizing The Debtors To Obtain Post-Petition Financing, Granting Senior Postpetition Security


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Interests And According Superpriority Administrative Expense Status Pursuant To Sections 364(c) And 364(d) Of
The Bankruptcy Code; (II) Authorizing The Use Of Cash Collateral; (III) Granting Adequate Protection; (IV)
Modifying The Automatic Stay; And (V) Granting Related Relief [Dkt. No. 19] filed in the Bankruptcy Case
on October 27, 2019.

        10.      "Document" is used in the broadest possible sense and includes, but is not limited
to, all original and all non-identical copies of any writing or record of any type or description,
including, but not limited to, the following items, and each draft thereof: writings, recordings, notes,
photographs, financial statements, agreements, contracts, legal documents, communications, e-mails,
correspondence, letters, statements, reports, envelopes, phone messages, telephone logs, agendas,
books, articles, receipts, purchase orders, sales orders, tape recordings, affidavits, opinions, notices,
proposals, invoices, confirmations, telegrams, cables, memoranda, records, summaries of records,
summaries of data, summaries of personal conversations or interviews, diaries, appointment books,
appointment logs, desk calendars, pocket calendars, forecasts, statistical statements, accounts, work
papers and related supporting documents, graphs, charts, maps, diagrams, blue prints, tables,
indexes, pictures, tapes, microfilms, charges, analytical records, minutes or records of meetings or
conferences, reports and/or summaries of interviews, reports and/or summaries of investigations,
opinions or reports of consultants, appraisals, records, reports or summaries of negotiations,
brochures, pamphlets, circulars, trade letters, press releases, stenographic, handwritten or any other
notes, projections, bank statements, checks (front and back), check stubs or receipts, checkbooks,
canceled checks, invoice vouchers, electronically or magnetically recorded or stored data, data tapes
and sheets or data processing cards or discs or any other computer-related data compilation, and any
other written, recorded, printed, typed, photographed, transcribed, punched, taped, filmed, or
electronically or graphically recorded documents or writings of whatever description however
produced or reproduced, including but not limited to, any information contained in any computer
although not yet printed, within your possession, custody or control or in the possession, custody or
control of any agent, employee (including without limitation, attorneys, accountants and investment
bankers or advisors), or other person acting on your behalf.

        11.    "Draft" shall include but not be limited to any preliminary form of, or any copy
bearing notations, marks, or matter not found on the original of, any Document.

        12.     The use of the word "including" shall be construed to mean "without limitation."

         13.    "Loan Documents" means any documents, agreements, or contract of any nature
related to the TCA Indebtedness.

        14.     An "Original" of a writing or recording is the writing or recording itself or any
counterpart thereof intended to have the same effect by a person executing or issuing it. An
"original" of a photograph includes the negative and/or any print made therefrom. If data is stored
in a computer or similar device, any printout or other output readable by sight, shown to reflect the
data accurately and in its native file format, is an "original."

        15.    "Person" means any individual, firm, partnership, joint venture, corporation, d/b/a
("doing business as"), association, company, estate, trust, or other legal, government, or business
entity.

        16.     "Petition Date" means October 24, 2019.


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        17.  "Possession, custody or control" includes constructive possession, whereby the
party to whom this request is directed has the right to compel the production of a matter or
documents from a third party (including an agency, authority or representative).

      18.    "Preliminary Document Request" means the document attached hereto as
Exhibit "A-1".

       19.   "Proposed Buyout(s)" refers to any attempts, offers, discussions, or any other form
of Communication pertaining to the purchase, satisfaction, or refinancing of any debt owed by any
Debtor to TCA.

        20.     The words "relate to" a given subject means relating to, concerning, referring to,
alluding to, responding to, connected with, commenting on, in respect of, about, regarding,
discussing, showing, describing, mentioning, reflecting, analyzing, constituting, evidencing,
supporting, or in any way pertinent to that certain subject.

       21.     "Relevant Time Period" means June 1, 2018, through the current date, unless
otherwise stated.

         22.     "Representative," when used with respect to a Person or entity, means, without
limitation, any insider, officer, director, employee, attorney, accountant, consultant, advisor, agent, or
any other such representative of the Person or entity in question.

         23.     "TCA" means and refers to TCA Global Credit Master Fund, LP and includes,
without limitation, TCA Capital International Group, TCA Fund Management Group, and any
Affiliate(s) or Representative(s) thereof.

        24.     "TCA Indebtedness" means any and all debts owed by one or more of the Debtors
to TCA. References to "Prepetition TCA Indebtedness" mean any debts incurred prior to the
Petition Date. References to "Postpetition Indebtedness" mean any debts incurred after the
Petition Date, including, without limitation, the DIP Facility.

        25.     "Writings" and "Recordings" consist of letters, words, numbers or their equivalent,
set down by handwriting, typewriting, printing, photographing, mechanical or electronic recording,
or any other form of data production, reproductions or compilations, however stored.

        26.     Use of the word "you" refers to the Debtors.

                                         II.      Instructions

       1.      Production of Documents. You are required to produce all documents in your
possession, custody or control that are requested herein. All documents requested herein may be
produced in electronic format unless otherwise instructed.

        2.     Lost or Destroyed Documents. If any documents requested herein have been lost,
discarded, or destroyed, the document so lost, discarded, or destroyed should be identified as
completely as possible, including without limitation the following information: (a) a description of
the document and the contents of the document; and (b) the date of disposal, the manner of


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disposal, the reason for disposal, the name of the person authorizing the disposal, and the name of
the person disposing of the document.

        3.     Lack of Custody. If any document herein requested is claimed by you not to be in
your possession, custody or control, then you are directed to identify (a) the nature of the document,
(b) the name, address and telephone number of any person who has or may have possession,
custody or control of such demanded item, and (c) whether and how you presently have access to
the document and can obtain a duplicate of it.

        4.     Selection of Documents. The selection of documents from files and other sources
shall be performed in such a manner as to insure that the file or other source from which a
document is obtained may be identified.

        5.      Separation of Documents. Documents attached to other documents or other
materials shall not be separated unless sufficient records are kept to permit reconstruction of the
grouping.

        6.        Electronic Documents. All documents in electronic format shall be produced in
their native file format, unless otherwise instructed by the Committee.

                                  III.    Requested Documents

        1.     All Communications, Documents, Drafts of Documents, Writings, and Recordings
involving the Debtors pertaining to any Proposed Buyout prior to the Petition Date.

      2.      All Communications, Documents, Drafts, Writings, and Recordings between the
Debtors and Bellridge Capital prior to the Petition Date.

      3.     All Communications, Documents, Drafts, Writings, and Recordings between the
Debtors and RB Capital prior to the Petition Date.

      4.     All Communications, Documents, Drafts, Writings, and Recordings between the
Debtors and TCA prior to the Petition Date.

      5.     All Communications, Documents, Drafts, Writings, and Recordings between the
Debtors and TCA after the Petition Date.

       6.      All Communications, Documents, Drafts, Writings, and Recordings involving the
Debtors and related to efforts by the Debtors to solicit or otherwise obtain post-petition debtor-in-
possession financing from any Person other than TCA.

        7.      All Communications, Documents, Drafts, Writings, and Recordings related to any
attempts of the Debtors to raise money for any purpose during the Relevant Time Period, including,
attempts to obtain funding from TCA pursuant to the Loan Documents or attempts to raise money,
including loans, equity or otherwise, from other sources besides TCA.

       8.     All Communications, Documents, Drafts, Writings, and Recordings related to the
Investment Banking Services Agreement dated August 22, 2018, between Zenergy Brands, Inc. and


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TCA, including, the Recording of the conference call between the Debtor(s) and TCA on August 14,
2019.

        9.     All Communications, Documents, Drafts, Writings, and Recordings related to any
potential mergers, acquisitions or sale of the Debtor(s) or any part thereof.

      10.     All Communications, Documents, Drafts, Writings, and Recordings between
Debtors and Alex Rodriguez.

        11.     All of Debtors' Communications, Documents, Drafts, Writings, and Recordings
pertaining to the Debtors' acquisition of Entertrade Electric, LLC.

        12.    All of Debtors' insurance policies effective during the 12 months prior to the
Petition Date and/or currently effective.

        13.     All of Debtors' internal Communications, Documents, Drafts, Writings, and
Recordings related to any of Debtors' causes of action or potential causes of action prepared during
the four years prior to the Petition Date.

        14.     All of Debtors' board minutes, including Drafts, prepared during the four years prior
to the Petition Date.

        15.    All of Debtors' bank records, including check copies and wire and ACH transfer
records evidencing distributions, dividends, or other non-salary payments made to Debtors' officers
and directors during the four years prior to the Petition Date.

        16.    All yearly and monthly financial statements.

        17.     All Communications, Documents, Drafts, Writings and Recordings related to
projections, financial models, budgets, analysis, and spreadsheets applicable to the Debtors'
revenues, cash, expenses, financial performance and other performance information, expectations or
scenarios.

        18.    Without regard to the Relevant Time Period, all Communications, Documents,
Drafts, Writings and Recordings relating to each and all "Unsecured Creditors" as described in
paragraphs 24 and/or 30 of the Campbell Declaration, including relating to information provided to
such "Unsecured Creditors" as part of the process of obtaining loans or equity investments from
such "Unsecured Creditors."

        19.    All Communications, Documents, Drafts, Writings and Recordings relating to the
Debtors' current sales cycles or pipeline, including current contracts, outstanding proposals,
potential customers for which analysis is being performed, potential customers for which the
Debtors are offering to perform analysis and other customer, potential customer and potential
revenue projections therefrom [a spreadsheet summarizing the above would initially be adequate,
but the Committee reserves all of its rights to seek the underlying information and expressly does
not agree to any such summary being introduced into evidence without producing all underlying
documentation and otherwise complying fully with F.R.E. 1006].



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        20.    All Communications, Documents, Drafts, Writings and Recordings related to the
"Services Agreement" as defined at paragraph 25 of the Campbell Declaration.

        21.     All Communications, Documents, Drafts, Writings and Recordings related to the
Securities and Exchange Commission, Debtors' publicly listed stock and/or other forms of equity
and any other securities, governmental, trading board or other oversight or enforcement agencies or
organizations, including the Public Company Accounting Oversight Board.

        22.    All Communications, Documents, Drafts, Writings and Recordings as set forth in
the Preliminary Document Request that have not been previously produced.




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KANE RUSSELL
COLEMAN LOGAN
                                                                                                       JOSEPH M. COLEMAN
                                                                                                         Dirco: (214) 777-4280
                                                                                                           jcoleman@krcl.com




                                                        November 12, 2019


           Via E-Mail — mhelt@gardere.com
           Marcus A. Helt, Esq.
           FOLEY & LARDNER LLP
           2021 McKinney Avenue, Suite 1600
           Dallas, TX 75201

                      Re:     In re Zenergy Brands, Inc., et al (the "Debtors"), Case No. 19-42886; In the United
                              States Bankruptcy Court for the Eastern District of Texas, Sherman Division

           Dear Mr. Helt:

                   As you know, Kane Russell Coleman Logan PC represents, pending court approval, the
           Official Committee of Unsecured Creditors (the "Committee") in the Zenergy Brands, Inc., et al.
           bankruptcy cases. In order to fulfill our duties to our constituency, we require the documents
           requested below.

                   We believe it is important to move quickly in this case and, to that end, require an expedient
           response from the Debtor to the Committee's requests for documents. Even so, we are cognizant
           of the Debtor's reduced staff and the other demands on their time associated with the bankruptcy
           process. As an accommodation, we divided our requests into high priority items and second
           priority—but important—items. We would appreciate receiving the high priority items as soon as
           possible. Of course, certain items may become "non-issues" and new matters may arise as the
           Committee works through its investigation. As we progress, please let us know of any additional
           matters the Debtor believes may be in the best interests of creditors for the Committee to
           investigate.

                    Unless otherwise stated, all documents should be produced from January 1, 2018 through
            and including  the date of production. The term "document" expressly includes, but is not limited to
            correspondence, communications in any form, memos, analyses, presentations, excel spreadsheets,
            e-mails, written agreements, etc. All document requests are directed to the Debtor unless otherwise
            expressly provided.

            HIGH PRIORITY ITEMS:
                   1. Any revised, modified or changed Budget from the Budget attached to the DIP
            Financing Motion [Mt. No. 19] as Exhibit A.


Dallas                  Houston
901 Main Street         5051 Westheimer Road
Suite 5200              Suite 1000                                                           7319810 v1 (72278.00002.000)
Dallas, Texas 75202     Houston, Texas 77056
214.777.4200            713.425.7400
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        2. Any and all loan, collateral, and perfection documents, including, but not limited to, all
loan agreements, security agreements, promissory notes, debentures, notices of default, forbearance
agreements, inter-creditor agreements, covenant waivers, guaranties, and financing statements
applicable to any of the Debtor's allegedly secured and unsecured creditors ("Loan Documents"),
including those that evidence any indebtedness owed or agreements with TCA (as defined below),
including without limitation the TCA Senior Security Facility Convertible Notes; TCA Investment
Banking Services Agreement, TCA Capital International Group, TCA Global and any direct or
indirect affiliates of the above (collectively "TCA").1
         3.      All correspondence, e-mails, other electronic or written communications,
memoranda (collectively "communications") from, to, or referencing TCA, including without
limitation, notices of default, letters relating to the exercise of remedies, forbearance requests, the
attempted workout or restructuring of outstanding loans, communications concerning reserves and
eligible or ineligible accounts or inventory, and any requests for certain action or information, or
documents evidencing any lender or creditor's efforts to exert control over the Debtor's operations.
        4.      All Communications with, from, to or referencing TCA related, directly or indirectly,
to (i) Debtor's obtaining additional debt or refinancing, (ii) sale of Debtor's assets outside the
ordinary course of business, (iii) investment in the Debtor, (iv) obtaining a payoff of amounts owed
to TCA, (v) indebtedness owed or allegedly owed by TCA, (vi) any alleged defaults or breaches of
the Debtor's obligations owed to TCA, (vii) officers of the Debtor, (viii) Debtor's business
decisions, and (ix) Debtor's refinancing efforts.
        5.     Any and all Default Letters, nocies of default or communications from TCA
regarding any breach, violation, or failure to comply with any term, provision or obligation owed by
the Debtors to TCA.
        6.     All documents evidencing TCA's efforts to exert any undue influence, dominion, or
control over any operations or material decisions, actions, or omissions of the Debtor.
        7.      Any documentation, communication, analysis or reference to attempt to pay off or
otherwise satisfy indebtedness owed to TCA, including, without limitation,' (i) TCA charging the
Debtors any amounts due; (ü) calculation of monthly principal and/or interest due TCA at any time;
(iii) amount of interest due and whether default interest is owed; (iv) total indebtedness at any time
due TCA; and (v) attempts to pay off TCA.
         8.     Any documentation, communication, analysis or reference to efforts by the Debtors
at any time after August 2018 to obtain any financing debt, capital, funding, advances or equity from
any source, including DIP Financing
        9.      Any documentation, communication, analysis or reference to that certain Investment
Banking Services Agreement, from TCA Capital, dated August 22, 2019, as referenced in the
Declaration of Joshua Campbell in Support of Chapter 11 Petition and First Day Motions pkt. No.
101 at pg. 10,1124




1 Capitalized terms not otherwise defined herein have the meanings ascribed to them or otherwise referenced in the
Declaration of Joshua Campbell in Support of Chapter 11 Petitions and First-Day Motions (the "First-Days Declaration [Docket
No. 10].
2 Use of "including" herein is the same as and means "including without limitation" with repeating same each time.




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         10.    Any documentation, communication, analysis or reference relating to advances or
failure to advance funs by TCA, the lockbox or complaints by the Debtor about TCA
        11.    All valuations, analysis, examinations, appraisals, or reports concerning collateral
securing any of the Debtor's obligations to any of the parties identified in demand number 1.
         12.    All availability analyses, borrowing base reports, and related information and
correspondence applicable to the Debtor's borrowing base or availability of funds from the Secured
Parties since the commencement of the Debtor's relationship with TCA.
       13.     The following financial statements for the Debtors:
               a.       Monthly financial statements, including income statements, balance sheets,
                        cash flow statements and other regularly generated monthly financial
                        statements since August 1, 2018;
               b.       Audited financial statements for the two years preceding the commencement
                        of the bankruptcy cases; and
                c.      Tax returns for the two years preceding the commencement of the
                        bankruptcy cases; and

                d.      All income, expenses, asset sale or other projections (or other financial
                        modeling) generated since January 1, 2018, including without limitation any
                        budgets prepared in connection therewith.

         14.     A detailed list of all of the Debtor's assets and, if not already provided in response to
a prior request, a detailed appraisal, report, or valuation of all of the Debtor's assets.

        15.     Access to the Debtor's data room, if any.

SECOND PRIORITY ITEMS:
        1.     All documentation evidencing transfers between the Debtor and its affiliates,
including an accounting of all receivables and payables outstanding.

        2.       Documentation evidencing any Insider loans, claims, or transfers, including any
transfers to affiliate entities outside of the ordinary course of the Debtor's business.

        3.       If not previously provided, please provide all "loan packages", prospectus, or other
materials relating to:

                a.      Attempts to retain investment bankers, financial advisors or other parties to
                        aid the Debtor with potential fund raising, financing, capitalization, mergers,
                        acquisitions, cost-cutting or other significant transactions;

                b.      Attempts to obtain an equity infusion, capitalization, debt restructure, debt
                        refinancing or other similar transaction affecting the capital structure, balance
                        sheet, liquidity, solvency or the equity of the Debtor; and

                c.      Efforts to obtain new or additional loans.


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       4.      Documentation detailing the Debtor's equity structure, and ownership interests in
any other business entities and affiliates

        5.      Documentation evidencing all claims and causes of action the Debtor has or may
have against any party, including any Insider, former Insider, lender, or any other party, and copies
of all non-privileged correspondence and pleadings pertaining to any such claim or pending lawsuit
in which the Debtor is a plaintiff.

       6.      Copies of all non-privileged correspondence and pleadings pertaining to any lawsuit
pending with the Debtor as a defendant.

        7.      Information and documents relating to any departure of an insider, officer, or
director from the Debtor since January 1, 2018.

      8.      A schedule of payments made by the Debtor to any of the parties listed in demand
number 1 since January 1, 2018.

         9.     All (i) employment agreements, (ü) stock, shareholder, membership and operating,
(iii) compensation, ownership or related agreements between the Debtor and any insider, officer, or
director.

       10.     The following documentation related to all Board of Directors' Meetings since
January 1, 2018.

                a.     Agenda related information packages;

                b.      Board resolutions and minutes; and

                c.      All other communications, reports, analysis and directions to or by the
                        Debtor's board.

      Please do not hesitate to call if you have any questions or comments about the above
demands for production.

                                               Sincerely,

                                               KANE RUSSELVCOLE                    GPC



                                               By:
                                                      oseph

JMC/cd

 cc:      Official Committee of Unsecured Creditors




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